Case 2:02-cv-02920-.]DB-dkv Document 179 Filed 05/20/05 Page 1 of 4 Page|D 200

FH£D sr . m~
IN THE U'NITED sTATEs DIsTRIcT coURT g ‘J.
FoR THE wEsTERN DIsTRICT oF TENNESSEE 95?‘?#-'¢`? 20 DH 11'06

WESTERN DIVISION

 

 

JERRY L. BILLINGSLEY,
Plaintiff,

vs. NO. 02-2920 BV
SHELBY COUNTY, DEPUTY JAILER
JOHN FORD, and MPD OFFICER JON
KIRKLAND,

-_r`_d~_z\_/`_r\_/'~_d\-dv'~_/'~_/

Defendants.

 

ORDER ON MOTION OF DEFENDANTS TO CLARIFY CASE AS NONJURY (NO.
105)

 

Before the court is the December 21, 2004 nmtion of the
defendants seeking a clarification from the court as to whether the
trial of this case will be a jury trial or non-jury trial. In
support of their motion, the defendants point out that none of the
parties ever requested a jury in writing nor is there any agreement
among the parties to try this case to a jury. The motion was
referred to the Uni;ed States Magistrate Judge for determination.
A hearing was held on Friday, May 20, 2005. Present at the hearing
were Jerry Billingsley, proceeding pro se, Deadrick Brittenum,
attorney for Officer Ford and Shelby County, and Deborah Godwin and
Elizabeth. McKinney, attorneys for Officer Kirkland. For the
reasons stated at the hearing on the record and for the following

reasons, the court finds that there was no request for a jury as

  

Th|s document entered on the docka:'§heeti comp|lance
with nme se and/or rs{a) FHCP on "C>’l ' 5

Case 2:02-cv-02920-.]DB-dkv Document 179 Filed 05/20/05 Page 2 of 4 Page|D 201

required by Rule 38 of the Federal Rules of Civil Procedure, and
the case should be set for trial before the court without a jury.

Rule 38(b) states that “[a]ny party may demand a trial by jury
of any issue triable of right by a jury by (l) serving upon the
other parties a demand therefor in writing at any time after the
commencement of the action and not later than 10 days after the
service of the last pleading directed to such issue, and (2) filing
the demand as required by 5(d).” Neither party has made a demand
for a jury in writing. Rule 38(d) states that “[f]ailure to serve
and file a demand as required by this rule constitutes a waiver by
the party.

The complaint filed by Billingsley does not contain a request
for a jury trial. None of the defendants requested a jury in their
answers. Billingsley contends that the parties agreed to a jury
trial at the April 8, 2003 scheduling conference before Judge
McCalla. The scheduling order does not reflect this assertion.
Rather, it states that the case is “SET FOR TRIAL.” Furthermore,
it would have been impossible for Officer Jon Kirkland to enter
into an agreement at that time because he had not been served, he
was not present nor was any counsel present on his behalf. In
addition, the case docket states that a jury has NOT been demanded.

The defendants, in their joint. motion for clarification,
believe that the confusion arose because at some point the court

began referring to this case as a jury trial. See Docket No. 68,

Case 2:02-cv-02920-.]DB-dkv Document 179 Filed 05/20/05 Page 3 of 4 Page|D 202

Amended Scheduling Order, signed by Judge Breen and Docket No. 101,

Amended Scheduling Order, also signed by Judge Breen, as well as

Docket No. 104, Notice of Re-Setting of the trial date.

Accordingly, this case shall be docketed as non-jury and tried

to the court without a jury.

IT IS SO ORDERED this 20th day Of May, 2005.

/@/{a/vu. % %('Wr

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DITRICT oURT - ESTERNDISTRICT oF TNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 179 in
case 2:02-CV-02920 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

Jerry L. Billingsley
1670 Altavista
Memphis7 TN 3 8127

Betsy McKinney

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.
50 N. Front St.

Ste. 800

Memphis7 TN 38103

Henry L. Klein

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

Memphis7 TN 38119--397

J. Phillip Kerley

BREAKSTONE & ASSOCIATES
200 Jefferson Ave.

Ste. #725

Memphis7 TN 38103

Deborah A. Godwin

GODWIN MORRIS LAURENZI & BLOOl\/[FIELD, P.C.
50 N. Front St.

Ste. 800

Memphis7 TN 38103

Dedrick Brittenum

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

